 MARGARET LITTMAN and                            )
 JENNIFER CHESAK                                 )
                                                 )
                         PLAINTIFFS,             )
                                                 )
 V.                                              )
                                                 )   Case No. 3:24-cv-00194
 UNITED STATES DEPARTMENT OF                     )
 LABOR; JULIE SU, as the acting U.S.             )
 Secretary of Labor; ADMINISTRATOR               )
 JESSICA LOOMAN, as head of U.S.                 )
 Department of Labor’s Wage and Hour             )
 Division; and U.S. DEPARTMENT OF                )
 LABOR WAGE AND HOUR DIVISION                    )
                                                 )
                         DEFENDANTS.             )



 PLAINTIFFS’ COMBINED MEMORANDUM IN SUPPORT OF CROSS-MOTION
FOR SUMMARY JUDGMENT, OPPOSITION TO DEFENDANTS’ CROSS-MOTION
  TO DISMISS OR, IN THE ALTERNATIVE, FOR SUMMARY JUDGMENT, AND
REPLY IN SUPPORT OF PLAINTIFFS’ MOTION FOR PRELIMINARY INJUNCTION




                                      INTRODUCTION
       Plaintiﬀs Margaret Littman and Jennifer Chesak (“the Freelancers”) are independent

contractors who have chosen to earn a living through freelance work because of the control,

ﬂexibility, and opportunities that it provides them. They challenge the Department’s 2024 Rule

entitled Employee or Independent Contractor Classiﬁcation Under the Fair Labor Standards Act, 89

Fed. Reg. 1638, which threatens to upend their careers as freelancers. This Court should grant the

Freelancers’ Motion for Summary Judgment and vacate the 2024 Rule for three reasons.

       First, the 2024 Rule is arbitrary and capricious. Without reasoned analysis as to why the

2021 Rule was problematic or why the conditions of uncertainty that prompted the 2021 Rule no


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longer exist, the Department rescinded the 2021 Rule and replaced it with the 2024 Rule. Both the

Department’s failure to provide a reasoned explanation for changing course and the 2024 Rule’s

potential to exacerbate the problem that it’s trying to solve violate the Administrative Procedure

Act’s prohibition on arbitrary and capricious agency action.

        Second, The Department has exceeded its statutory authority in issuing the 2024 Rule

because the Department’s interpretation of the applicable standard rests on the ﬂawed premise that

the FLSA pursues its remedial purpose at all costs. Third, and more fundamentally, all agree that

the Department has no authority to issue legislative rules to determine whether there’s an

employment relationship under the FLSA. The Department must therefore hang its hat on the

argument that the 2024 Rule is an interpretative, rather than legislative, rule. Yet this argument

fails because the 2024 Rule—like other legislative rules—aﬀects the rights and obligations of

individuals and businesses.

        This Court should grant the Freelancers’ Cross-Motion for Summary Judgment. 1

                                     STANDARD OF REVIEW

        The Department’s 12(b)(1) motion is a facial attack on subject matter jurisdiction. See

Gentek Bldg. Prods. v. Sherwin-Williams Co., 491 F.3d 320, 330 (6th Cir. 2007) (facial attacks on

subject matter jurisdiction question the legal suﬃciency of the complaint while factual attacks on

jurisdiction disputes the factual predicate for jurisdiction). When reviewing a facial attack on

jurisdiction, “a district court takes the allegations in the complaint as true.” Id. “If those allegations

establish federal claims, jurisdiction exists.” Id.


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 In the alternative, if the Court declines to rule on the parties’ summary judgment motions, it
should grant the Freelancers’ Motion for Preliminary Injunction and deny the Department’s
Motion to Dismiss.

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        When reviewing a ﬁnal agency action on motions for summary judgment, the “usual rules

governing summary judgment do not apply.” Oak Ridge Envtl. Peace All. v. Perry, 412 F. Supp. 3d

786, 808 (E.D. Tenn. 2019) (citations omitted). A court, in a case involving claims under the

Administrative Procedure Act (APA), must determine whether the evidence in the administrative

record “permitted the agency to make the decision as a matter of law.” Id. Summary judgment is

often an appropriate “mechanism for deciding whether the agency action is supported by the

administrative record and otherwise consistent with the APA standard of review.” Id. (citations

omitted); Chamber of Com. of United States v. SEC, 670 F. Supp. 3d 537, 551 (M.D. Tenn. 2023) (in

an APA case, the “entire case on review is a question of law, and only a question of law, to be based

on the administrative record already assembled”) (internal quotation marks omitted).

                                           ARGUMENT
   I.      This Court has Subject Matter Jurisdiction to Hear the Freelancers’ Case
        The Freelancers have standing to challenge the Department’s 2024 Rule for two reasons.

First, the Freelancers have standing because they are the objects of the 2024 Rule. Second, the

Freelancers have standing because they satisfy all three elements of standing: (1) an injury-in-fact,

(2) that is fairly traceable to the Department’s Final Rule, and (3) redressable by a favorable court

decision. See Blachy v. Butcher, 221 F.3d 896, 909 (6th Cir. 2000).

   a. The Freelancers Have Standing Because They are the Objects of the 2024 Rule
        In a challenge to agency action, “standing depends considerably upon whether the plaintiﬀ

is himself an object of the action” at issue. Lujan v. Defs. of Wildlife, 504 U.S. 555, 561–62 (1992).

If so, then “there is ordinarily little question that the action or inaction has caused him injury, and

that a judgment preventing or requiring the action will redress it.” Id.; see Contender Farms, L.L.P.


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v. United States Dep’t of Agric., 779 F.3d 258, 265 (5th Cir. 2015) (“Whether someone is in fact an

object of a regulation is a ﬂexible inquiry rooted in common sense.”); NCAA v. Governor of N.J.,

730 F.3d 208, 219 (3d Cir. 2013) (“Injury in fact may be established when the plaintiﬀ himself is

the object of the action at issue.”).

        The Freelancers are plainly the objects of the 2024 Rule. The Freelancers earn their living

by working as independent contractors, see Veriﬁed Complaint (“VC”) ¶¶ 8–9, 38, 43, and the

Department’s stated purpose in enacting the 2024 Rule was to address a perceived problem with

worker misclassiﬁcation. 89 Fed. Reg. 1647 (asserting that the 2021 Rule threatened “an increased

risk of FLSA-covered employees being misclassiﬁed as independent contractors.”). To that end,

the Department changed the test for discerning between employees and independent contractors

by replacing the 2021 Rule’s two-core-factor test with a “totality of the circumstances” analysis

containing six non-exhaustive factors. 89 Fed. Reg. 1638–39.

        The 2024 Rule thus aﬀects workers like the Freelancers because it changes the very test

that employers must use to determine whether an employment relationship exists under the FLSA.

If it were otherwise, one would hardly expect an administrative record littered with comments from

freelancers, including Ms. Littman herself, objecting that the 2024 Rule would lead to

misclassiﬁcation of independent contractors as employees. See 89 Fed. Reg. 1648; Comment from

Littman, Margaret, WHD-2022-0003-14158 (noting that the six-factor test in the 2024 Rule “relies

heavily on interpretation and will unfairly shift many legitimate independent contractors into

employee status.”). All told, the 2024 Rule alters how individuals like the Freelancers earn a living

and that “level of interference as to their lives” is suﬃcient to establish standing. Contender Farms,

779 F.3d at 265.



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   b. The Freelancers Have Standing Because They Meet the Injury, Traceability, and Redressability
      Requirements for Standing

       The Freelancers also have standing because they satisfy the injury, traceability, and

redressability requirements for standing. The Department’s 2024 Rule inﬂicts multiple injuries on

the Freelancers. See 5 U.S.C. § 702 (authorizing judicial review of a ﬁnal agency action to any person

“suﬀering a legal wrong because of agency action, or adversely aﬀected or aggrieved by agency

action within the meaning of a relevant statute”); United States v. Students Challenging Regul. Agency

Procedures, 412 U.S. 669, 689 n.14 (1973) (injury-in-fact analysis helps distinguish persons “with a

direct stake in the outcome of a litigation” from persons “with a mere interest in the problem.”).

For starters, the Department’s 2024 Rule threatens “classic pocketbook injury” on the

Freelancers. Tyler v. Hennepin Cnty., 143 S. Ct. 1369, 1374 (2023). The “loss of even a small amount

of money” suﬃces to establish injury, but the Department’s 2024 could cost the Freelancers

“considerably more.” Czyzewski v. Jevic Holding Corp., 580 U.S. 451, 464 (2017). After all, the

Freelancers have spent years earning their living as independent contractors. See VC ¶¶ 38–47. The

2024 Rule’s adoption of an open-ended test featuring six non-exclusive factors threatens to unravel

their economic relationships. See id. ¶¶ 35–37, 41, 46 (noting the 2024 Rule makes it harder for

businesses to discern between independent contractors and employees and increases the risk that

companies will cease to work with the Freelancers).

       More to the point, the 2024 Rule injures the Freelancers by imposing “administrative and

compliance costs and burdens” on them. Tennessee v. United States Dep’t of Agric., 665 F. Supp. 3d

880, 898 (E.D. Tenn. 2023). As individuals warned through the public comments, the 2024 Rule

will “lead to signiﬁcant compliance costs for ﬁrms.” 89 Fed. Reg. 1734. Firms have already passed

along some of those costs to freelancers. See id. at 1733 (acknowledging that independent

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contractors will incur familiarization costs). Ms. Chesak, for example, has begun incurring hours

of unpaid time documenting the speciﬁc tasks she performs as an independent contractor. VC ¶ 45;

see also id. (noting Ms. Chesak’s other injuries, such as being required to sign an indemniﬁcation

agreement and being limited in the number of hours she can work as an independent contractor). 2

       Perhaps recognizing that pocketbook injury and compliance costs suﬃce to establish injury-

in-fact, the Department attempts to cast the Freelancers’ injuries as “speculative.” See Defendants’

Consolidated Brief, ECF No. 12, at 9–11. But the administrative record contradicts the

Department’s assertions. For instance, the Department contends that the Freelancers’ injuries are

speculative because “the 2024 Rule simply incorporates standards that federal courts have applied

for decades.” Id. at 9. 3 The Freelancers dispute that the 2024 Rule incorporates standards that

federal courts have applied for decades because, as one federal court observed, courts have varied

in how they have applied the economic realities test. See Coal. for Workforce Innovation 2022 U.S.

Dist. LEXIS 68401, at *38. The 2021 Rule aimed to provide clarity to workers and companies alike

by focusing on two core factors for determining whether an employment relationship exists under

the FLSA. See 86 Fed. Reg. 1170–75; 89 Fed. Reg. 1649 (acknowledging that the concept of

economic dependence in case law is underdeveloped). But the 2024 Rule introduces uncertainty



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  Although Ms. Chesak has already incurred compliance costs as a result of the 2024 Rule, both
Plaintiﬀs have standing because the 2024 Rule threatens them with compliance costs as well as
traditional pocketbook injury. In any event, “only one plaintiﬀ needs to have standing in order for
the suit to move forward.” Parsons v. United States DOJ, 801 F.3d 701, 710 (6th Cir. 2015).
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  The Department’s assertions that the 2024 Rule will not lead to misclassiﬁcation and simply
incorporates the applicable caselaw regarding the economic realities test duplicates its arguments
into the merits of the Freelancers’ APA claim that the 2024 is arbitrary and capricious. “If standing
and the merits of a plaintiﬀ’s claim are intertwined, courts are encouraged to ʻﬁnd that jurisdiction
exists and deal with the objection as a direct attack on the merits.’” Sowders v. Scratch Fin., Inc.,
No. 3:23-cv-56, 2024 U.S. Dist. LEXIS 23204, at *10 (S.D. Ohio Feb. 9, 2024) (citing Gentek Bldg.
Prods. v. Sherwin-Williams Co., 491 F.3d 320, 330 (6th Cir. 2007)).
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by rescinding the 2021 Rule and replacing it with a vague multi-factor test. 89 Fed. Reg. 1666–67

(noting the objections of many commenters that the “Department’s proposal to replace the ʻcore

factor’ analysis and return to the totality-of-the-circumstances analysis undermined the clarity of

the 2021 IC Rule, creating more uncertainty and confusion”). In the end, there is nothing

speculative about the Freelancers’ assertion that the 2024 Rule would chill their business practices

and introduce uncertainty into their economic aﬀairs when other individuals, a federal court, and

the Department itself have echoed the same concerns.

       Also unavailing is the Department’s dismissal of the Freelancers’ fear of losing work

because the Department “does not anticipate that independent contractors . . . who are correctly

classiﬁed as independent contractors under current circuit case law would be reclassiﬁed.” 89 Fed.

Reg. 1659. The Department’s predictions do not undermine the Freelancers’ fears—particularly

because the 2024 Rule aﬀects countless companies and workers nationwide. Therefore, while the

Department belittles the Freelancers’ concerns as “unreasonable,” those concerns echo those

voiced in many public comments, including comments submitted by the National Federation of

Independent Businesses and the Small Business Administration Oﬃce of Advocacy. Id. at 1739–40

(SBA concerns that “the Department has severely underestimated the economic impacts of this

rule on small businesses and independent contractors” and that “many independent contractors or

freelance workers, who may also be small businesses, believe they will lose work because of this

rule .”); id. at 1658 (acknowledging NFIB comment that “[c]ompanies . . . will be less likely to

engage a contractor or consultant if there’s uncertainty over a worker’s status since a ﬁnding of

misclassiﬁcation can result in ruinous penalties”).




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       The Freelancers’ injuries are traceable to the 2024 Rule. The Department contends that

it’s implausible that companies have harmed Ms. Chesak “as a result of the 2024 Rule, rather than

as part of changes to the companies’ overall business practices or in response to general concerns

about misclassiﬁcation.” ECF No. 12, at 11 (emphasis in original). But there’s nothing implausible

about the allegation that company measures that harm Ms. Chesak were undertaken “to comply

with the 2024 Rule.” VC ¶ 45. “When an agency action has a predictable eﬀect . . . on the decisions

of third parties, the consequences of those third-party decisions may suﬃce to establish standing,

even when the decisions are illogical or unnecessary.” New York v. United States Dep’t of Homeland

Sec., 969 F.3d 42, 59 (2d Cir. 2020) (internal quotation marks omitted). As stated above, the record

brims with comments warning that the 2024 Rule would lead to the injuries that now befall Ms.

Chesak. And it’s hardly illogical for companies to comply with the 2024 Rule—even before the

eﬀective date—given the time it takes companies to alter business practices and the threat of

criminal and civil penalties for noncompliance. See 29 U.S.C. § 216.

       The Freelancers’ injury is redressable by a favorable court decision vacating the 2024 Rule.

Because the 2024 Rule rescinds the 2021 Rule, a favorable decision would reinstate the 2021 Rule,

which provided the Freelancers with greater clarity and certainty about how they can structure

their economic relationships. See Coal. for Workforce Innovation, 2022 U.S. Dist. LEXIS 68401, at

*48 (noting that its decision vacating the Department’s eﬀorts to withdraw the 2021 Rule meant

that the 2021 Rule remained in eﬀect).

       The Department fails to cite a single case to support its assertion that the 2021 Rule would

no longer exist even if this Court vacated the 2024 Rule. See ECF No. 12, at 11. But even if the

Department were correct, the Freelancers would still prefer a world without either the 2021 or



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2024 Rule to a world with the 2024 Rule. As discussed more fully below in Section II(c), at 14–16,

the “economic realities test” developed in the circuit courts contains more limitations and provides

more guidance than the 2024 Rule. Thus, regardless of whether this Court reinstates the 2021 Rule

or not, an order vacating the 2024 Rule would redress the Freelancers’ injuries.

   II.      The 2024 Rule Violates the Administrative Procedure Act Because it is Arbitrary
            and Capricious
         The APA requires courts to set aside agency action that is “arbitrary [and] capricious.” 5

U.S.C. § 706(2)(A). While agencies may change their policies and rules they must “supply a

reasoned analysis for the change.” Motor Vehicle Mfrs. Ass’n v. State Farm Mut. Auto. Ins., 463 U.S.

29, 42 (1983). This analysis may go beyond what is required when an agency is acting in the ﬁrst

instance. Id. At the very least, an agency must “display awareness that it is changing position” and

“show that there are good reasons for the new policy.” Encino Motorcars, LLC v. Navarro, 579 U.S.

211, 221 (2016) (Encino I) (citations omitted). Agency action is “arbitrary and capricious if the

agency has . . . oﬀered an explanation for its decision that runs counter to the evidence before the

agency or is so implausible that it could not be ascribed to a diﬀerence in view or the product of

agency expertise.” Motor Vehicle Mfrs. Ass’n, 463 U.S. at 43. When an agency is rescinding a rule,

an agency must also make a reasoned explanation for “disregarding facts and circumstances that

underlay or were engendered by the prior policy.” FCC v. Fox TV Stations, Inc., 556 U.S. 502, 515–

16 (2009) (Fox I). Thus, an “ʻ[u]nexplained inconsistency’ in agency policy is ʻa reason for holding

an interpretation to be an arbitrary and capricious change from agency practice.’” Encino I, 579

U.S. at 221–22.

         The 2024 Rule is arbitrary and capricious for three reasons: First, the Department has not

adequately explained why the conditions that prompted the 2021 Rule no longer exist. Second, the


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Department failed to provide a reasoned explanation for its belief that the 2021 Rule created more

uncertainty and increased the risk of misclassiﬁcation. Third, the Department has failed to show

why a return to a broader open-ended “economic realities test” embodied in the 2024 Rule solves

the problem the Department is trying to alleviate: uncertainty and misclassiﬁcation.

    a. The Circuit Courts’ Application of the “Economic Realities Test” Prior To The 2021 Rule Was
       Inconsistent, Unclear, and Resulted in Uncertainty for the Regulated Community

        The administrative record leaves little doubt that before the Department’s action in

promulgating the 2021 Rule, the “economic realities test” developed for decades in the circuit

courts confused businesses and workers alike about whether an employment relationship existed

under the FLSA. 86 Fed. Reg. 1170–75; 89 Fed. Reg. 1649 (acknowledging that the concept of

economic dependence in case law is underdeveloped); see also Coal. for Workforce Innovation, 2022

U.S. Dist. LEXIS 68401, at *38; Sec’y of Labor, United States Dep't of Labor v. Lauritzen, 835 F.2d

1529, 1539–45 (7th Cir. 1987) (Easterbrook, J., concurring). In promulgating the 2021 Rule, the

Department conducted a comprehensive review of inconsistencies in how federal courts have

formulated and applied the economic realities test. 86 Fed. Reg. 1170–75. For example, some

circuits apply a six-factor test, while others apply a ﬁve-factor test. 86 Fed. Reg. 1170; see, e.g., Usery

v. Pilgrim Equip. Co., 527 F.2d 1308, 1311 (5th Cir. 1976) (ﬁve-factor test); Acosta v. Oﬀ Duty Police

Servs., 915 F.3d 1050, 1055 (6th Cir. 2019) (six-factor test).

        What’s more, even in circuits that apply the same test, the results vary under very similar

fact patterns. Compare Lauritzen, 835 F.2d at 1534–35 (applying a six-factor economic reality test to

hold that pickle pickers were employees under the FLSA), with Donovan v. Brandel, 736 F.2d 1114,

1117 (6th Cir. 1984) (applying the same six-factor economic reality test to hold that pickle pickers

were not employees under the FLSA). As Judge Easterbrook aptly observed, the inconsistent

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results that courts have reached are largely due to the vagaries of an open-ended “economic

realities test”:

        It is comforting to know that “economic reality” is the touchstone. One cringes to
        think that courts might decide these cases on the basis of economic fantasy. But
        “reality” encompasses millions of facts, and unless we have a legal rule with which
        to sift the material from the immaterial, we might as well examine the facts through
        a kaleidoscope.

835 F.2d at 1539 (Easterbrook, J., concurring). Courts in the same jurisdiction have also reached

contradictory results when confronted with similar fact patterns. Compare Cromwell v. Driftwood

Elec. Contractor, Inc., 348 F. App’x 57 (5th Cir. 2009) (cable splicers hired to perform post-Katrina

repairs were employees), with Thibault v. BellSouth Telecomm., 612 F.3d 843 (5th Cir. 2010) (cable

splicer hired by the same company under a similar arrangement was an independent contractor);

86. Fed. Reg. 1173. As one federal court lamented, “a worker’s classiﬁcation as an independent

contractor or an employee is dependent on the happenstance of geography, i.e., the judicial circuit

in which the worker resides or works.” Coal. for Workforce Innovation, 2022 U.S. Dist. LEXIS

68401, at *48. And as Cromwell and Thibault demonstrate, similar workers even in the same judicial

district may be classiﬁed diﬀerently. “Fifty years after the Act’s passage is too late to say that we

still do not have a legal rule to govern these cases.” Lauritzen, 835 F.2d at 1539 (Easterbrook, J.,

concurring).

        Federal caselaw thus belies the Department’s contention that the application of the

“economic realities test” has been well-developed and consistent. See Brown v. N.Y.C. Dep’t of

Educ., 755 F.3d 154, 167 (2d Cir. 2014) (stating there is no uniform “economic realities” test); Coal.

for Workforce Innovation, 2022 U.S. Dist. LEXIS 68401, at *36–38 (detailing the many diﬀerences

in how courts conduct the “economic realities test”). The Department must provide a reasoned



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explanation for “disregarding facts and circumstances that underlay” the promulgation of the prior

2021 Rule. Fox I, 556 U.S. at 515–16. Yet the Department ﬁnds little support in the administrative

record for its current claim that “any purported confusion” giving rise to the 2021 Rule was

“overstated.” 87 Fed. Reg. 62226. As detailed above, a faithful survey of federal court decisions

undermines the Department’s contention that there is a “familiar and longstanding standard” in

case law. 89 Fed. Reg. 1725. The Department’s disregard of the facts that engendered the 2021

Rule is arbitrary and capricious. Fox I, 556 U.S. at 515.

   b. The 2021 Rule Properly Addressed the Problem of Uncertainty and Was Consistent With the
      FLSA

       The 2021 Rule properly focused on the core of the economic realities test by analyzing

whether a worker is in business for himself or herself (independent contractor) or was dependent

on an employer for work (employee). 86 Fed. Reg. 1168, 1171; see also Acosta v. Oﬀ Duty Police Servs.,

915 F.3d 1050, 1055 (6th Cir. 2019); Usery v. Pilgrim Equip. Co., 527 F.2d 1308, 1311 (5th Cir. 1976).

The Department has consistently stated—in both the 2021 and 2024 Rules—that economic

dependence is the ultimate inquiry for determining whether an individual is an employee or

independent contractor under the FLSA. 89 Fed. Reg. 1648–49. As discussed in the previous

subsection, circuit courts have applied diﬀerent versions of the economic realities test and have

reached inconsistent conclusions on similar facts. The Department’s 2021 Rule attempted to

alleviate the resulting confusion and uncertainty by highlighting two core probative factors—the

“nature and degree of the individual’s control over the work,” and “individual’s opportunity for

proﬁt or loss.” 86 Fed. Reg. 1179–80, 1185–86.

       In issuing the 2021 Rule. the Department detailed the relevant caselaw and concluded that

these two core factors drive at the heart of the question of “whether an individual is ʻin business

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for himself’ or is ʻdependent upon ﬁnding employment in the business of others.’” 86 Fed. Reg.

1197–98 (citations omitted). As the Department explained, some circuit courts had begun to focus

primarily on control and the opportunity for proﬁt and loss factors. Id.; see also Saleem v. Corp.

Transp. Grp., Ltd., 854 F.3d 131, 143–44 (2d Cir. 2017); McFeeley v. Jackson St. Entm't, LLC, 825

F.3d 235, 243 (4th Cir. 2016). Thus, the 2021 Rule was not inconsistent with the FLSA and the

main inquiry of economic dependence. 86 Fed. Reg. 1197–98.

       Although the Department now criticizes the 2021 Rule for elevating two core factors and

improperly narrowing the economic realities test, the Department previously explained that

nothing in the economic realities test “require[d] factors to be unweighted or equally weighted.”

86 Fed. Reg. 1197. And the 2021 Rule allowed for consideration of three other factors, but only if

those other factors were relevant in determining whether an employment relationship exists under

the FLSA. Id. at 1247. In all, the 2021 Rule sought to provide clarity by sharpening the economic

dependence inquiry in a way that is consistent with the FLSA. The Department fails to cast doubt

on the 2021 Rule’s conclusion that treating all factors as equal “would not focus the inquiry on

economic dependence, but rather would distort that analysis.” Id. at 1203.

   c. The 2024 Rule Exacerbates the Problem It Purports to Solve and Has No Limiting Principle

       The Department’s rescission of the 2021 Rule and its implementation of an open-ended

balancing test in its place exacerbates the confusion and lack of clarity that it sought to remedy in

promulgating the 2021 Rule. The 2024 Rule acknowledges that the 2021 Rule correctly identiﬁed

the need for greater clarity in determining whether an employment relationship exists under the

FLSA. 89 Fed. Reg. 1647 (recognizing that the 2021 Rule correctly identiﬁed the need to develop

further clarity); see also 86 Fed. Reg. 1168–1175, 1178–1196, 1209–1234 (compiling extensive



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evidence of the confusion parties faced determining whether someone was an employee or

independent contractor under FLSA.).

       The Department now claims that the 2024 Rule increases clarity, 89 Fed. Reg. 1649, while

contending that the 2024 Rule is “materially identical” to the economic realities test as applied by

courts for decades. ECF No. 12, at 11; 89 Fed. Reg. 1727. The Department cannot have it both

ways. As stated above, courts have applied the economic realities test by using diﬀerent factors and

reaching diﬀerent results on similar fact patterns. So if the 2024 Rule were truly a reﬂection of the

circuit courts’ application of the economic realities test, then the Department’s rescission of the

2021 Rule would lead to the sort of constant confusion that prompted the 2021 Rule in the ﬁrst

place. Such a result is itself arbitrary and capricious. See Dep’t of Homeland Sec. v. Regents of the

Univ. of Cal., 140 S. Ct. 1891, 1912 (2020).

       The Department’s claim that the 2024 Rule is not arbitrary and capricious because it is

substantively identical to the Sixth Circuit’s interpretation of the economic realities test also fails.

See ECF No. 12 at 14. Indeed, both this Court and the Sixth Circuit have warned against an open-

ended application of the economic realities test.4 Wilson v. Guardian Angel Nursing, Inc., No. 3:07-

0069, 2008 U.S. Dist. LEXIS 59623, at *34 (M.D. Tenn. July 31, 2008) (“Indeed, it requires only

a very cursory view of the economic realities factors to recognize that they permit of numerous

exceptions and may be dubious indicators.”); Imars v. Contractors Mfg. Servs., No. 97-3543, 1998



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 The Department invokes another Sixth Circuit case for its argument that the “Sixth Circuit
applies a standard materially indistinct from the 2024 Rule.” ECF No. 12, at 15–16 (citing Oﬀ Duty,
915 F.3d at 1054–55). But although the Sixth Circuit in that case considered six factors, its analysis
emphasized three factors—permanency of relationship, opportunity for proﬁt or loss, and right to
control—which “require[d] more attention.” Oﬀ Duty, 915 F.3d at 1054–55. In any event, Ms.
Littman works with over 20 companies nationwide, VC ¶ 40, so the 2024 Rule aﬀect her rights
beyond the Sixth Circuit.
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U.S. App. LEXIS 21073, at *16–18 (6th Cir. Aug. 24, 1998) (“We are cognizant of the fact that few

of these factors necessarily makes economic sense, and all of the factors are far too easy to

manipulate and mold during application to suit a preconceived result,” and also stating that the

factors “provide mixed results and so tell us very little.”). This Court has thus stated that “the

portent of these diﬃculties with the economic realities test is that this Court must proceed with

caution in applying it.” Wilson, No. 3:07-0069, 2008 U.S. Dist. LEXIS 59623, at *36–37. Because

of these diﬃculties, the Sixth Circuit and the district courts have begun to view the determination

of FLSA classiﬁcations as possible questions for a jury to decide. See Rounds v. Phil’s Kar Kare, No.

16-13170, 2018 U.S. Dist. LEXIS 30170, at *10 (E.D. Mich. Feb. 26, 2018) (citing Keller v. Miri

Microsystems LLC, 781 F.3d 799, 804–805 (6th Cir. 2015)). Thus, even within this circuit, there is

a recognition of the problematic nature of the “economic realities test.”

       In any event, the 2024 Rule might be even less precise than the economic realities test that

has been formulated in the circuit courts. The 2024 Rule refuses to give any factor more or less

weight than the others and adds that the six factors “are not exhaustive.” 29 C.F.R. § 795.110. In

addition, the 2024 Rule contains a seventh catch-all factor which makes it conceivable that any fact

could be relevant in determining whether a worker is an independent contractor or employee. Id.

The Department also purposefully provides little guidance on how to apply this open-ended totality

of circumstances test. 89 Fed. Reg. 1670. It is the Department’s position that such an open-ended

analysis is a strength rather than a weakness of the 2024 Rule. Id. Yet such a formulation requiring

an examination of all facts avoids formulating a rule of decision and does nothing to alleviate the

confusion about whether a worker is an employee under the FLSA or an independent contractor.

Lauritzen, 835 F.2d at 1539 (Easterbrook, J., concurring).



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       Although circuit courts were inconsistent in their application of the “economic realities

test” before the 2021 Rule, circuit courts have both provided guidance and cabined their

application of the economic realities test. For example, this Court “proceeds with caution” in

applying the economic realities test and many circuits have limited the examination of factors that

are not relevant. Wilson, No. 3:07-0069, 2008 U.S. Dist. LEXIS 59623, at *36–37; see also Parrish v.

Premier Directional Drilling, L.P., 917 F.3d 369, 382 (5th Cir. 2019) (acknowledging that for

contractors to follow health-and-safety standards in certain contexts does not suggest “control” for

purposes of economic reality test); McFeeley, 825 F.3d at 244 (limiting the three factors of the

degree of skill, permanence of working relationship, and importance of the services rendered). All

told, parties before the 2021 Rule could at least look to their appellate court’s jurisprudence for

some guidance. In contrast, the 2024 Rule provides no limiting principle and its vague multi-factor

balancing test invites arbitrary and inconsistent results. Imars, 1998 U.S. App. LEXIS 21073, at *16;

Perdue v. Kenny A. ex rel. Winn, 559 U.S. 542, 551–52 (2010).

       Lastly, the Department’s claim that the 2021 Rule would increase the misclassiﬁcation of

FLSA covered employees into independent contractors is a conclusory ﬁnding devoid of evidence

in the administrative record. “Because the Department does not have data on the number of

misclassiﬁed workers and because there are inherent challenges in determining the extent to which

the rule would reduce this misclassiﬁcation, much of [its] analysis is presented qualitatively…” 89

Fed. Reg. 1726. What’s more, the Department in promulgating the 2024 Rule did not consider the

costs to business and workers who wish to remain independent contractors and only conducted a

“qualitative” cost-beneﬁt analysis of the 2024 Rule. Id. In contrast, the 2021 Rule did consider cost

and beneﬁts associated with the 2021 Rule ﬁnding that it “is expected to result in cost savings to



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ﬁrms and workers.” 86 Fed. Reg. 1232. The Department also found that the increased clarity would

result in hundreds of millions of dollars in net savings. Id. at 1211. The Department has not refuted

its previously supported conclusions with actual data to conclude that the 2024 Rule will reduce

misclassiﬁcation and result in net savings. This is not “reasoned decision making” and is thus

arbitrary and capricious. Michigan v. EPA, 576 U.S. 743, 750, 135 S. Ct. 2699, 2706 (2015).

          In sum, the Department’s inconsistent reasoning that the 2024 Rule brings about more

clarity and predictability while being materially identical to the unclear and inconsistent circuit

courts’ application of the economic realities test highlights the arbitrary and capricious nature of

the 2024 Rule. The 2024 Rule exacerbates the problem the 2021 Rule was trying to solve. The

Department has failed to provide good reasons for changing its policy or demonstrate that the

conditions that prompted the 2021 Rule have changed. The 2024 Rule is therefore arbitrary and

capricious and violates the APA.

   III.      The 2024 Rule Violates the Administrative Procedure Act Because it is in Excess
             of the Department’s Statutory Authority

   a. The 2024 Rule Embodies an Expansive Reading of the FLSA in violation of the Supreme Court’s
      holding that the FLSA must be given a Fair Reading

          The Department in promulgating the 2024 Rule relies on the “ﬂawed premise that the

FLSA ʻpursues’ its remedial purpose ʻat all costs.’” Encino Motorcars, LLC v. Navarro, 584 U.S. 79,

89 (2018) (Encino II) (quoting Am. Express Co. v. Italian Colors Rest., 570 U.S. 228, 234 (2013)).

While the FLSA’s deﬁnitions and scope of employment are broader than that of common law, the

FLSA was not meant to deﬁne all workers as employees. See Walling v. Portland Terminal Co., 330

U.S. 148, 152 (1947); Rutherford Food Corp. v. McComb, 331 U.S. 722, 729 (1947). The Supreme

Court has recently instructed that the FLSA must be given a “fair reading.” Encino II, 584 U.S. at



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89. The Department protests that the holding in Encino II was limited to construing the exemptions

listed in the FLSA. ECF No. 12, at 17; see also 89 Fed. Reg. 1168, n. 220. But the Court’s reasoning

in reaching that holding was that the dozens of exemptions in the FLSA were “as much a part of

the FLSA’s purpose” as other provisions in the FLSA. Encino II, 584 U.S. at 89 (citing FLSA’s

overtime-pay requirement). That reasoning undermines the Department’s contention that courts

must employ one statutory canon to read an FLSA exemption and another statutory canon to read

another provision of the FLSA.

       After the Supreme Court’s decision in Encino II, many circuit courts—including the Sixth

Circuit—have applied the “fair reading” principle to other provisions of the FLSA. See Diaz v.

Longcore, 751 F. App’x 755, 758 (6th Cir. 2018) (applying a “fair” interpretation to employer as

deﬁned in Section 203(d) in the FLSA); McKay v. Miami-Dade Cnty., 36 F.4th 1128, 1133 (11th Cir.

2022) ( applying a “fair reading” to the non-statutory internship exception); Mei Xing Yu v. Hasaki

Rest., Inc., 944 F.3d 395, 412 (2d Cir. 2019) (stating the importance of giving the FLSA a “fair

reading” and giving a “fair reading” to whether the FLSA required judicial approval of Rule 68(a)

oﬀers of judgment in settling FLSA claims); Sec’y United States DOL v. Bristol Excavating, Inc., 935

F.3d 122, 135 (3d Cir. 2019) (“ʻ[A] fair reading’ of the FLSA, neither narrow nor broad, is what is

called for.”). Thus, when construing whether someone is an employee under the FLSA, the statute

must be given a “fair reading.” The 2024 Rule’s interpretation of the FLSA exceeds statutory

authority because it turns on an outdated construction of the FLSA.

   b. The 2024 Rule is Ultra Vires because it is a Legislative Rule that Aﬀects the Rights and
      Obligations of Individuals

       The Department concedes that the FLSA gives the Department no authority to issue

legislative rules to determine whether there’s an employment relationship under the FLSA. See

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EFC No. 12, at 20. Yet to escape the consequence of this admitted lack of authority, the

Department incorrectly argues that the 2024 Rule is an interpretive rule, rather than a legislative

rule. “If a pronouncement implements a statute by enacting a legislative-type rule aﬀecting

individual rights and obligations, it is likely to be a substantive rule.” Dyer v. Sec’y of Health &

Human Servs., 889 F.2d 682, 685 (6th Cir. 1989). And if a rule changes the method an agency uses

in granting substantial beneﬁts or alters how the agency exercises its authority under a statute, it is

a legislative rule. Brown Express, Inc. v. United States, 607 F.2d 695, 701 (5th Cir. 1979); Tenn. Hosp.

Ass’n v. Azar, 908 F.3d 1029, 1043 (6th Cir. 2018). In contrast, an interpretive rule is “merely a

clariﬁcation or explanation of an existing statute or rule” Ohio Dep’t of Human Servs. v. United

States Dep’t of Health & Human Servs., 862 F.2d 1228, 1233 (6th Cir. 1988).

       The 2024 Rule aﬀects the rights and obligations of private individuals and alters how the

Department exercises its duties and enforcement under the FLSA. The 2024 Rule directly states

that individuals and businesses may rely on the 2024 Rule in making their “good faith” defense in

FLSA litigation. “The interpretations stated in this part may be relied upon in accordance with

section 10 of the Portal-to-Portal Act, 29 U.S.C. 251-262.” 89 Fed. Reg. 1742; 29 C.F.R. § 795.100;

see also 29 U.S.C. § 259. The 2024 Rule thus changes the standard in which individuals or

businesses may claim the “safe harbor” defense by rescinding the 2021 Rule and adopting a new

open-ended standard to determine who is an employee or independent contractor. See 29 U.S.C.

§ 259. And the 2024 Rule will now guide the Department in how it performs and enforces the

FLSA. 29 C.F.R. § 795.100. The 2024 Rule also rescinds all previous “administrative rulings,

interpretations, practices, or enforcement policies relating to determining who is an employee or

independent contractor.” Id. Thus, the 2024 Rule directly aﬀects how individuals will be classiﬁed



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under the FLSA (determining whether the rights and obligations under the FLSA apply), and alters

how the Department will perform its duties under the FLSA, which duties include the enforcement

of the Act. See 29 U.S.C. § 216 (noting that those who violate the FLSA are subject to criminal

penalties and civil liability). The 2024 Rule therefore changes the rights and obligations private

parties have under the FLSA and is a legislative rule. See Coal. For Workforce Innovation, 2022 U.S.

Dist. LEXIS 68401, at *15.

        The Department’s mere claim that the 2024 Rule is interpretive is both not dispositive and

undermined by the administrative record. Ohio Dep’t of Human Servs 862 F.2d at 1234. 5 As the

Department admits, one of the key purposes of the 2024 Rule was to rescind the 2021 Rule, in part

because of the Department’s perception that the 2021 Rule would result in misclassiﬁcation

harming workers and competing businesses who correctly classify their employees. 89 Fed. Reg

1638–39, 1658. Based on this reasoning, the Department believes that the 2021 Rule aﬀected the

rights and obligations of private parties. 86 Fed. Reg. 8327 (stating that the 2021 Rule was the ﬁrst

regulation addressing who is an independent contractor under FLSA and the 2021 Rule created a

new legal standard “for determining employee and independent contractor status under the

FLSA.”); see also Coal. For Workforce Innovation, 2022 U.S. Dist. LEXIS 68401, at *14.

        The 2024 Rule is intended to replace the 2021 Rule in how individuals are classiﬁed under

the FLSA. “[I]nterpretive rules cannot ʻeﬀec[t] a substantive change in the regulations,’ a rule that




5
  Similarly unpersuasive is the Department’s argument that “the 2024 Rule indicates its
interpretative nature.” ECF No. 12, at 19. A rule can be legislative even where the agency oﬃcial
promulgating the rule terms it “interpretive rule and general statement of policy” in the federal
register. Chamber of Commerce v. OSHA, 636 F.2d 464, 466–67 (D.C. Cir. 1980). That’s because a
court does “not classify a rule as interpretive just because the agency says it is.” Id. at 468. Instead,
“it is the substance of what the (agency) . . . has done which is decisive.” Id.
                                                   20

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ʻadopt[s] a new position inconsistent with any of the Secretary’s existing regulations’ is necessarily

legislative.” Tenn. Hosp. Ass’n v. Azar, 908 F.3d 1029, 1042 (6th Cir. 2018) (citations omitted). The

2024 Rule’s substantive change in how workers are classiﬁed cannot be an interpretive rule because

the Rule replaced the test set forth in the 2021 Rule with its own multi-factor test to determine

whether an employment relationship exists under the FLSA. As the Department has stated, the

purpose of the 2024 Rule was in part to avoid misclassiﬁcation under the FLSA, which means that

it aﬀects individual rights and obligations. 89 Fed. Reg. 1646. In essence, the Department’s 2024

Rule rescinded a prior legislative rule (the 2021 Rule) and the 2024 Rule is necessarily legislative.

Am. Mining Cong. v. Mine Safety & Health Admin., 995 F.2d 1106, 1112 (1993) (stating that if a

purported “interpretive” rule eﬀectively amended a prior legislative rule, it is a legislative rule).

       Other aspects of the 2024 Rule provide more evidence that it is a legislative rule. From 1949

to 2019, the Department only adopted opinion letters on the general question of determining

whether someone is an employee or independent contractor under the FLSA. 86 Fed. Reg. 1171;

89 Fed. Reg. 1643–44. The fact that the Department underwent notice and comment for the 2021

Rule (the ﬁrst time the Department underwent formal rulemaking on the scope of the employment

relationship under the FLSA), and then underwent notice and comment to rescind the 2021 Rule

and promulgate the 2024 Rule, also suggests that the 2024 Rule is legislative. The Department’s

conduct thus contradicts its assertion that the 2024 Rule is merely interpretive. See N.C. Growers’

Ass’n v. UFW, 702 F.3d 755, 765 (4th Cir. 2012). Likewise, the Department published the 2024 Rule

in the Code of Federal Regulations (C.F.R. § 795.100-115) which also establishes that the 2024 Rule

has “general applicability and legal eﬀect,” and is legislative. Am. Mining Cong., 995 F.2d at 1112.




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In all, the 2024 Rule contains all the hallmarks of a substantive legislative rule and is not merely an

“advisory” interpretive rule. 6

        As the Department recognizes, the FLSA gives the Department no authority to issue

legislative rules to determine whether there’s an employment relationship under the FLSA. As a

legislative rule, the 2024 Rule exceeds the Department’s statutory authority and must be set aside.

5 U.S.C. § 706(2)(C). But even if the Department claimed that it could issue legislative rules in

determining whether there’s an employment relationship under the FLSA, such a construction of

the statute would raise constitutional and separation-of-power concerns, including a nondelegation

problem. See Tiger Lily, LLC v. HUD, 5 F.4th 666, 672 (6th Cir. 2021). This is because Congress in

the FLSA gave no standards by which the Department should exercise its discretion on this topic.

See Panama Reﬁn. Co. v. Ryan, 293 U.S. 388, 418–19 (1935). In addition, such a broad reading of the

FLSA would also implicate the major questions doctrine. See West Virginia v. EPA, 142 S. Ct. 2587

(2022). “It is the peculiar province of the legislature to prescribe general rules for the government

of society…” INS v. Chadha, 462 U.S. 919, 967 (1983). Congress has not authorized the

Department to issue legislative rules to determine whether there’s an employment relationship

under the FLSA. The 2024 Rule therefore exceeds the Department’s statutory authority and must

be set aside. 5 U.S.C. § 706(2)(C). 7




6
  The Department states that if the 2024 Rule is set aside on the basis that it is a legislative rule that
the Department had no authority to enact, the 2021 Rule must also be set aside under the same
reasoning. But the 2021 Rule is not at issue in this case, and in any event, the Freelancers prefer
even the pre–2021 status quo to the 2024 Rule. See Section II(c), at 14–16.
7
  Because the 2024 Rule violates the Administrative Procedure Act, this Court “must set it aside.”
Mann Construction Inc. v. United States, 27 F.4th 1138, 1148 (6th Cir. 2022).
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    IV.      The Freelancers Satisfy the Remaining Factors for a Preliminary Injunction

    This Court should grant Plaintiﬀs’ Motion for Summary Judgment and vacate the 2024 Rule.

Such relief would make it unnecessary to decide the other motions in the case. But if the Court

were to entertain Plaintiﬀs’ Motion for Preliminary Injunction, it should hold that all the other

factors for preliminary relief are satisﬁed here.

          Complying “with a regulation later held invalid almost always produces the irreparable

harm of nonrecoverable compliance costs.” Thunder Basin Coal Co. v. Reich, 510 U.S. 200, 220-21

(1994) (Scalia J., concurring in part). Here, Ms. Chesak has already suﬀered compliance costs

stemming from the 2024 Rule, Ms. Littman will likely incur similar costs, see Section I(b), and

neither Freelancer can obtain after-the-fact monetary relief to remedy that injury. See 5 U.S.C.

§ 702 (The APA only waives sovereign immunity for relief other than money damages). This alone

establishes irreparable harm. Kentucky v. Biden, 57 F.4th 545, 556 (6th Cir. 2023) (“The federal

government’s sovereign immunity typically makes monetary losses like these irreparable.”).

          Enjoining the 2024 Rule properly preserves the position of the parties until the Court

decides the merits of the 2024 Rule. Univ. of Tex. v. Camenisch, 451 U.S. 390, 395, (1981) (purpose

of a preliminary injunction “is merely to preserve the relative positions of the parties until a trial

on the merits can be held.”). While the Freelancers face irreparable harm absent an injunction, no

such harm would occur to the Department if the 2021 Rule was temporarily in place. 8 The

Department’s fear of misclassiﬁcation if an injunction is granted and the 2021 Rule is put back into



8
  Even if the 2021 Rule was not put back in place, the Department cannot claim that a return to an
economic realities test that has been applied by courts before 2021 would harm the Department or
the public more than the 2024 Rule. That is because the Department contends that the 2024 Rule
is “materially identical” to the economic realities test that existed before the 2021 Rule. ECF No.
12, at 20.
                                                     23

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place is speculative given the Department’s admitted lack of data on worker misclassiﬁcation

during the time in which 2021 Rule was in eﬀect. 89 Fed. Reg. 1726. Thus, there is no evidence that

a return to the 2021 Rule will damage the public interest or harm the Department. The balance of

the hardships and the public interest favor the issuance of a preliminary injunction. If the Court

declines to rule on the summary judgment motions, the Court should grant the Freelancers’

Motion for Preliminary Injunction until the merits of the case are resolved.

                                        CONCLUSION

       For these reasons, this Court should grant Plaintiﬀs’ Motion for Summary Judgment. In

the alternative, this Court should grant Plaintiﬀs’ Motion for Preliminary Injunction and deny

Defendants’ Motion to Dismiss.

DATED: April 5, 2024

Respectfully submitted,


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                              CERTIFICATE OF SERVICE

I hereby certify that on April 5, 2024, I submitted the foregoing PLAINTIFFS’ COMBINED

MEMORANDUM IN SUPPORT OF CROSS-MOTION FOR SUMMARY JUDGMENT,

OPPOSITION TO DEFENDANTS’ CROSS-MOTION TO DISMISS OR, IN THE

ALTERNATIVE, FOR SUMMARY JUDGMENT, AND REPLY IN SUPPORT OF

PLAINTIFFS’ MOTION FOR PRELIMINARY INJUNCTION to the Clerk of the Court via

the District Court’s CM/ECF system, which served the document on John T. Lewis, who is

counsel for the defendants.


                                                     s/ Wencong Fa
                                                     Wencong Fa
                                                     Counsel for Plaintiﬀs




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